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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


 ROBERT LOWINGER, Individually and On
 Behalf of All Others Similarly Situated,                 Civil Action No. 1:18-cv-05989

                                  Plaintiff,

                v.

 USG CORPORATION, JOSE ARMARIO,
 THOMAS A. BURKE, MATTHEW CARTER,
 JR., GRETCHEN R. HAGGERTY, WILLIAM H.
 HERNANDEZ, BRIAN A. KENNEY, RICHARD
 P. LAVIN, STEVEN F. LEER, and JENNIFER F.
 SCANLON,

                                  Defendants.


                           NOTICE OF VOLUNTARY DISMISSAL
       Plaintiff Robert Lowinger voluntarily dismisses this action without prejudice pursuant to

Fed. R. Civ. P. 41(a)(1)(A)(i).

DATED: August 31, 2018                          Respectfully Submitted,
                                                By: /s/ Bruce C. Howard
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